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IN THE UNITED sTATEs DISTRICT coUR'r w 5"' CIQ..Z£`¥.¢
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Plaintiff,
v. No. 05-20177 Ma

TYREE TILLMAN,

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Defendant.

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ORDER DENYING DEFENDANT'S MOTIONS FOR A BILL OF PARTICULARS AND
FOR SEVERANCE AND A SEPARATE TRIAL

 

Defendant Tyree Tillman (“Tillman”) was indicted with five
other co-defendants and alleged co-conspirators. The Indictment
alleges that all six co-defendants conspired to possess with the
intent to distribute a controlled substance in violation of 21
U.S.C. § 846. The indictment also alleges that one of Tillman's co-
defendants, Charles L. Price, possessed with intent to distribute
a controlled substance in violation of 21 U.S.C. § 841(a)(1).
Before the court is Tillman's “Motion for Bill of Particulars,”
filed on June 23, 2005. Also before the court is Tillman's “Motion
of Defendant Tyree Tillman [for] Severance and Separate Trial,”
also filed on June 23, 2005. The United States filed a consolidated
response to both n©tions on June 27, 2005. For the following

reasons, Defendant’s motions are DENIED.

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I. Motion for a Bill of Particulars

Tillman contends that he is entitled to a Bill of Particulars
because the indictment fails to allege a specific overt act or acts
and simply “raises the language of the statute allegedly violated."

(Def.'s Mem. in Supp. at 1.) Tillman's indictment reads, in

pertinent part:

Beginning at a time unknown to the Grand Jury, but at
least from in or about June 2004, through at least the
date of this indictment, in the Western District of
Tennessee and elsewhere, the defendants, Charles L.
Price, Elishah Moody, Tyree Tillman, Tavaris Boothe,
Corey Williams, and Harvey Louis Boyland did unlawfully,
knowingly and intentionally conspire, combine,
confederate and agree with each other and with other
persons both known and unknown to the Grand Jury, to
possess with the intent to distribute and to distribute
in excess of 5 kilograms of a ndxture and substance
containing a detectable amount of cocaine . . . in
violation of Title 21 United States Code, Section 846.

(Indictment, Count 1.)

The Sixth Amendment requires “that the indictment inform the
defendant of the nature and cause of the accusation.” United States
v. Piccolo, 723 F.2d 1234, 1238 (6th Cir. 1983) (internal quotes
and citations omitted). That requirement is satisfied if the
indictment “contains the elements of the offense intended to be
charged, and sufficiently apprises the defendant of what he must be
prepared to meet,” Russell v. United States, 369 U.S. 749, 763-64
(1962).

Count 1 contains the elements of the offense charged and gives

Tillman sufficient notice of what he must be prepared to meet at

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trial. Count 1 alleges a conspiracy to violate a particular
statutory provision. It is sufficient that it only alleges, as
acts in furtherance of the conspiracy, the statutory violations
themselves. §eg United States v. Branan, 457 F.2d 1062, 1064 (6th
Cir. 1972)(holding that a “reference to a specific section of the
statutes [is] sufficient to meet the test that the indictment must
sufficiently apprise the defendant of what he must be prepared to
meet...”)(citing United States v. Debrow, 346 U.S. 374, 378
(1953)). That no more specific act or acts are alleged does not
undermine the notice function of the indictment because “the
government is not limited to overt acts pleaded in the indictment
in proving a conspiracy, but may show other acts of conspirators
occurring during its life. . . .” United States v. Morgenstern, 842
F.2d 333 (Table), 1988 WL 24210, at *8 (6th Cir.), cert. denied,
488 U.s. 855 (1988).

“The purpose of a bill of particulars is not to enable a
defendant to obtain detailed disclosure of the government's
evidence or theories prior to trial. Rather, the bill of
particulars serves to provide specification of the evidence upon
which the government intends to rely in. proving the offenses

charged in the indictment.” United States v. Gioiosa, 924 F.2d 1059

 

(Table) , 1991 WL 15149, at *3 (6th Cir. 199].) (Citirlg United States
v. Pandilidis, 524 F.2d 644, 647 (6th Cir. 1975)). Count l of the

indictment puts Tillman on notice that the government will offer

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evidence to prove that an agreement existed among the named
defendants to commit the cited crimes. The indictment sufficiently
limits the government's theory of criminality and the scope of the
evidence it ney introduce. §ge Gioiosa, 1991 WL 15149, at *3
(citing Russell, 369 U.S. at 768). Therefore, the court denies
Tillman's motion to compel the United States to submit a bill of
particulars.
II. Motion For Severance and Separate Trial

Tillman moves to sever his trial from the trial of the other
five co-defendants because his defense will be prejudiced if a
separate trial is not granted. (Def.’s Mem. in Supp. of Mot. for
Severance at 1.) Tillman alleges 5 sources of prejudice: 1) the
jury will have difficulty keeping evidence for or against each of
the six co-defendants in Count 1 of the Indictment separate; 2) the
jury will be more likely to convict Tillman on Count 1 if it hears
evidence on Count 2, which names Charles L. Price alone; 3) the
defenses that the various co-defendants will raise are “mutually
antagonistic” and irreconcilable; 4) the jury will hear evidence
that is admissible against the co-defendants but is inadmissible
against Tillman; and 5) because one or more of Tillman's co-
defendants have made statements that inculpate him, trying the
cases together will deprive Tillman of his right to confrontation
under the Sixth Amendment and his right against self-incrimination

under the Fifth Amendment. (Id. at 2-3.)

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Motions for severance are governed. byl Rule 14(a) of the
Federal Rules of Criminal Procedure. It provides:
If the joinder of offenses or defendants in an
indictment, an information, or a consolidation for trial
appears to prejudice a defendant or the government, the
court may order separate trials of counts, sever the
defendants' trials, or provide any other relief that
justice requires.
Fed. R. Cr. P. 14(a). “There is a preference in the federal system
for joint trials of defendants who are indicted together.” Zafiro
v. United States, 506 U.S. 534, 537 (1993). Joint trials “promote

efficiency and ‘serve the interests of justice by avoiding the

scandal and inequity' of inconsistent verdicts.'“ Id. (quoting
Richardson v. Marsh, 481 U.S. 200, 209 (1987)). “[I]t is well

settled that defendants are not entitled to severance merely
because they may have a better chance of acquittal in separate
trials.” lgé at 540.

Generally, persons indicted together in a conspiracy case
should be tried together. United States v. Smith, 197 F.3d 225,
230 (6th Cir. 1999). “In order to escape the general rule, the
defendant must carry the heavy burden of showing specific and
compelling prejudice resulting from a joint trial which can be
rectified only by separate trials.” lig (citations omitted).
Further, “[t]he fact that each defendant attempts to lay the blame
at the feet of the other defendants is not reason enough for a
severance without a showing that the jury' is unable to treat

evidence applicable to each defendant distinctively.” Id.

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Tillman's concern that the jury will have difficulty keeping
evidence for or against each of the six co-defendants in Count 1 of
the Indictment separate does not mandate severance. Tillman has
not identified “specific and compelling” prejudice that is likely

to result from the joint trial. See Smith, 197 F.3d at 230. To the

 

extent that any jury confusion is possible, it can be addressed by
appropriate jury instructions. gee Zafiro, 506 U.S. at 540-41
(noting that, even where there is some risk of prejudice, it may be
curable with proper instructions); United States v. Welch, 97 F.3d
142, 147 (6th Cir. 1996) (“juries are presumed capable of sorting
evidence and separately considering each count and each
defendant”).

Tillman's second contention is that a jury will be more likely
to convict him on Count 1 if it hears evidence against Price on
Count 2. This argument is based on the spillover effect by which
juries may be influenced by the evidence against one defendant on
charges which are not identical to the charges against a co-
defendant. United States v. Elder, 90 F.3d 1110, 1119-20 (6th Cir.
1996). Such risk is heightened where the evidence would be
inadmissible against one defendant, the case is complex, or the
degrees of culpability are markedly different. Zafiro, 506 U.S. at
539. lhis problem can often be resolved through the judicious use
of limiting instructions to the jury. §gg id.; United States v.

Jones, 578 F.2d 1332, 1336 (10th. Cir. 1978). Tillman. has not

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presented any specific examples showing that jury instructions
cannot prevent prejudice that might result from trying Tillman at
the same time as Price.

Tillman's conclusory statement that he and his co-defendants
have “mutually antagonistic or irreconciable [sic] defenses” does
not provide a basis on which to sever his trial. Although there are
circumstances in. which. the existence of mutually' antagonistic
defenses can demonstrate prejudice, “[m]utually antagonistic
defenses are not prejudicial per se." Zafiro, 506 U.S. at 538.
Tillman states that his co-defendants plan to raise the defense of
entrapment, but does not specify the prejudice that might arise as
a result. Thus, his motion and accompanying memorandum do not
demonstrate the “specific and compelling” prejudice required for

severance. See Smith, 197 F.3d at 230.

 

Tillman's claim that he will be prejudiced because the jury
will hear evidence that is admissible against his co-defendants but
is inadmissible against Tillman does not mandate severance because
Tillman has not identified any' actual evidence that would. be
inadmissible against him but will be admitted at trial. Without any
specific examples, Tillman. has not met his burden. of showing
“specific and compelling” prejudice required by severance.

Finally, Tillman's claim that trying the defendants together
will deprive Tillman of his right to confrontation under the Sixth

Amendment and his right against self-incrimination under the Fifth

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Amendment does not provide a basis to grant severance. Tillman's
argument that he will be deprived of his Fifth and Sixth Amendment
rights rests on the vague claim that he “believes that one or more
of his co-defendants have made statements that are inculpatory
toward [him].” This conclusory statement does not carry Tillman's
burden of showing “specific and compelling” prejudice.1
Consequently, the court denies Tillman's motion for severance and
a separate trial.
III. Conclusion

For the foregoing reasons, the court DENIES Defendant's
“Motion for Bill of Particulars” and “Motion of Defendant Tyree

Tillman [for] Severance and Separate Trial.”

So ORDERED this lsl¢t\day of July 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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The statement also does not explain how the fact that his co-defendants

have made “inculpatory” statements about him necessarily means that his Fifth and
Sixth Amendment rights will be compromised if his trial is not severed.

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